Case 1:18-cv-01108-RP Document 62-1 Filed 05/07/21 Page 1 of 5




                                                   Plaintiff's Exhibit 1




                                                              FISHER 000092
Case 1:18-cv-01108-RP Document 62-1 Filed 05/07/21 Page 2 of 5




                                                           FISHER 000093
Case 1:18-cv-01108-RP Document 62-1 Filed 05/07/21 Page 3 of 5




                                                           FISHER 000094
Case 1:18-cv-01108-RP Document 62-1 Filed 05/07/21 Page 4 of 5




                                                           FISHER 000095
Case 1:18-cv-01108-RP Document 62-1 Filed 05/07/21 Page 5 of 5




                                                           FISHER 000096
